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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
UNITED STATES HOUSE OF                )
REPRESENTATIVES,                      )
                                      )
              Plaintiff,              )
                                      )
       v.                             )    Civil Action No. 14-1967 (RMC)
                                      )
ALEX M. AZAR, II, in his official     )
capacity as Secretary of Health and   )
Human Services, et al.,               )
                                      )
              Defendants.             )
_________________________________     )

                                            ORDER

               Pursuant to the parties’ joint motion upon settlement of this matter, Dkt. 83, and

the Mandate of the U.S. Court of Appeals for the D.C. Circuit, Dkt. 87, it is hereby

               ORDERED that the portion of this Court’s final Order dated May 12, 2016, Dkt.

74, providing that “reimbursements paid to issuers of qualified health plans for the cost-sharing

reductions mandated by Section 1402 of the Affordable Care Act, Pub. L. 111-148, are

ENJOINED pending an appropriation for such payments,” is VACATED.

               SO ORDERED. This case is closed.



Date: May 18, 2018                                            /s/
                                                 ROSEMARY M. COLLYER
                                                 United States District Judge




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